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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION DANIELA
PALO ALTO, et al.,                    HERNÁNDEZ CHONG CUY IN
              Plaintiffs,             SUPPORT OF PLAINTIFFS’ MOTION
                                      FOR A TEMPORARY RESTRAINING
     v.                               ORDER AND PRELIMINARY
                                      INJUNCTION
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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         DECLARATION OF DANIELA HERNÁNDEZ CHONG CUY
   FOUNDER, DIRECTING ATTORNEY AND OWNER OF THE LAW OFFICE OF
                  DANIELA HERNÁNDEZ CHONG CUY


I, Daniela Hernández Chong Cuy, make the following statements on behalf of myself and the Law
Office of Daniela Hernández Chong Cuy. I certify under penalty of perjury that the following
statement is true and correct pursuant to 28 U.S.C. § 1746.
   1. My name is Daniela Hernández Chong Cuy and I am the founder, owner and Directing
      attorney of the Law Office of Daniela Hernández Chong Cuy, a Professional Corporation.
      (“Law Office of D. H. CH. C.”). Based in Pasadena, California, the Law Office of D. H.
      CH. C. provides comprehensive legal representation to unaccompanied immigrant children
      formerly in the custody the Office of Refugee Resettlement (“ORR”) in Los Angeles, San
      Bernadino, Ventura, and Riverside counties. We are also the sole legal service provider
      for two ORR long-term foster care facilities: Building Bridges Foster Family Agency in
      Ontario, CA, and MarSell Wellness in Montebello, CA.
   2. Our office provides legal representation in a variety of immigration matters, including
      representing adults in immigration detention who have been found incompetent to
      represent themselves, and families with affirmative USCIS applications. However, since
      2023, our work with unaccompanied children has become a central component of our
      firm’s work. We have developed a team of specialized immigration experts to best serve
      unaccompanied children with holistic services. Our mission is to provide “client-centered”
      and trauma-informed legal representation that recognizes both the autonomy of underaged
      clients and their vulnerabilities, caused by age, class, gender, race, status differences, or
      mental health needs, always acting with a humanizing and holistic approach to lawyering.
   3. In order to carry out this mission, the Law Office of D. H. CH. C. has several main work
      components: (1) Representing children in long-term foster care under ORR custody in
      immigration proceedings; (2) Representing unaccompanied minors who are not in ORR
      custody in immigration proceedings; and (3) Providing educational services in the form of
      legal education “know your rights” (“KYR”) presentations for unaccompanied minors
      under the Post-release Initial Legal Service (“PILS”) program.
   4. The Law Office of D. H. CH. C. has been providing legal services for unaccompanied
      immigrant children in California since May 2023. In May 2023, as subcontractors of the
      Unaccompanied Children’s Program, we began providing legal representation for children
      detained in an LTFC in Ontario, California, and for unaccompanied minors who were no
      longer in ORR custody in Los Angeles, San Bernardino, Ventura, and Riverside counties.
      In 2024, our services under the contract expanded to include a second LTFC facility in
      Montebello, California, and to cover a larger number of released unaccompanied children.


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5. Since 2023, our office has initiated a combined total of 75 cases. In 2024, we initiated
   representation for 15 children in long-term foster care and 27 children that have been
   released from previous ORR custody—a total of 42 children just that year. Just in the first
   few months of 2025 alone, we have initiated representation of eight unaccompanied minors
   in long-term foster care, which is likely explained due to the uptick of children in need of
   long-term care.
6. Currently our office has 60 open cases under the ORR contract. To fulfill our duties as a
   provider of legal services for unaccompanied minors, I have had to restructure my business
   model and the clientele my Law Office serves, limiting the number of private clients I can
   take at any given time to accommodate the growing demand of competent legal service
   providers for this vulnerable population.
7. With U.S. Department of Health and Human Services (“HHS”) funding, the Law Office of
   D. H. CH. C. has maintained four staff members dedicated to providing legal services to
   unaccompanied immigrant children. Specifically, our team is composed of two full-time
   attorneys, including myself, and two full-time paralegals. Our fourth and most recent hire
   was welcomed to our team in October 2024.
8. Staff providing representation and KYR presentations to children in long-term foster care
   regularly travel to meet each child in person to conduct client interviews and prepare clients
   for Immigration Court hearings. Our staff visits the facilities at least once a month, with
   in-person visits often occurring on a bi-weekly basis. The LTFC clients can also request a
   virtual meeting with their attorney for faster and more convenient scheduling; we take these
   sorts of meetings at least twice a week. In-person visits can range from one to four hours,
   depending on the legal work to be done and the youth served on each visit. Child
   representation requires a trauma-informed approach, so the work cannot be rushed. The
   clients will set the tone and pace for our work and conversations.
9. In addition to providing representation in removal proceedings before the Immigration
   Court, we provide representation for unaccompanied children before United States
   Citizenship and Immigration Services (“USCIS”) and California Family, Probate, and
   Dependency court as needed. A majority of the children we represent are eligible for
   Special Immigrant Juvenile Status (“SIJS”), a critical form of immigration relief for
   children who have suffered abuse, abandonment, or neglect. SIJS proceedings are
   especially pertinent to children in long-term foster care, who require dependency courts to
   designate an institutional caregiver to ensure their well-being. Many children we serve are
   also eligible for asylum, as they fear persecution in their countries of origin. Our office
   provides services not only to initiate their asylum applications, but to accompany them to
   their critical asylum interview before USCIS. Other children we serve are eligible for U
   Nonimmigrant Visas, as they have been victims of criminal activity in the United States,



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   thus we provide representation before the necessary law enforcement agencies to prepare
   their case.
10. A large part of our ORR contract focuses on serving unaccompanied children in long-term
    foster care. Unaccompanied immigrant children are placed in long-term foster care when
    they have no one in the United States who is available to care for them. These children
    require a particular form of representation, due to the increased vulnerability of not having
    an adult to be released to in the United States. Due to their circumstances, children in long-
    term foster care do not have the financial resources to pay for an immigration attorney.
    Further, many of these children experienced severe abuse, neglect, or persecution in their
    countries of origin, and require trauma-informed advocates to help them navigate the
    complex world of immigration law. We have clients as young as two years old, who would
    be unable to represent themselves before any court or government agency or to find a paid
    attorney. We represented a client belonging to the Hazara/Suni ethnic and religious
    minority who fled Afghanistan after the takeover by the Taliban regime in 2021; we helped
    him prepare and present his asylum application before the Los Angeles Asylum Office,
    and file other applications for relief before USCIS, all complex procedures he would be
    unable to navigate on his own, due to age, and cultural and language barriers. We have an
    indigenous Raramuri client, a 16-year-old girl who has no known direct relatives either in
    Mexico or in the United States; we provided representation for the appointment of an
    institutional guardian in state court and just received notices of approval of her SIJS
    application. We advocated before multiple stakeholders so that a family of four young
    children from Angola be released from ORR custody to reunify with their family in
    Canada. None of these clients would have been able to seek relief without our assistance.
11. Our work is critical not only in preserving our clients’ access to justice, but in ensuring that
    the Immigration Court’s juvenile docket runs efficiently. The consistency in the way we
    have provided legal representation for our detained clients and prepared applications for
    relief during the past two years has led to an efficient management of the juvenile docket
    at the Immigration Court in Santa Ana, California, where our cases are routinely terminated
    or administratively closed. This avoids unnecessary delays, alleviates the Court’s and
    ICE’s case load, and directs resources where they may be best and most efficiently used.
    Our advocacy for our clients ensures that the due process rights of children in immigration
    proceedings are respected without need of the Immigration Court mandating unnecessary
    continuances of their proceedings, or without requiring that the Immigration Judge take
    additional time to explain to the children before them their rights in those proceedings and
    how they could in theory advocate for themselves. In every court appearance, Immigration
    Judges have expressed their gratitude for our work.
12. Without warning, on February 18, 2025, HHS (through the U.S. Department of the Interior)
    issued a national contract stop work order for Legal Services for Unaccompanied Children,
    effective immediately, which extended to all five Contract Line Numbers (CLINs).

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   Without further elaboration on duration or reasoning, the stop work order stated that it
   “shall remain in place until you are notified otherwise” and “is being implemented due to
   causes outside of your control and should not be misconstrued as an indication for poor
   performance.” HHS then later rescinded the stop work order without explanation on
   February 21, 2025
13. On March 21, 2025, also without warning, we learned that HHS (through the U.S.
    Department of the Interior) partially terminated the current contract with Acacia Center for
    Justice (to which our organization is a subcontractor) that funds legal services for
    unaccompanied children. This termination was effective the same day, March 21, 2025.
    HHS terminated the contract with respect to 3 of the 4 Contract Line Numbers (CLINs):
    CLIN 2, Legal representation for unaccompanied children as well as other non-
    representation services such as referrals and data tracking; CLIN 3, which funds Immigrant
    Justice Corps fellows who represent unaccompanied children not covered under CLIN 2,
    and CLIN 4, Spanish language tutoring for organizational staff who work with children.
    For the time being, HHS has left in place CLIN 1, which funds KYR presentations and
    confidential legal consultations for pro se children in ORR facilities, and CLIN 5, which
    funds Immigrant Justice Corps fellows who represent children not covered under other
    CLINs. Per the partial termination, HHS ordered Acacia and all subcontractors to stop work
    immediately on CLINs 2, 3, and 4. HHS provided no justification for the partial termination
    other than “the Government’s convenience.”
14. On March 21, 2025, I was notified via email communication by the Acacia Center for
    Justice that a stop work order had been issued for all the legal work we do under the
    unaccompanied children’s program. Immediately, I communicated this message to my
    team, ordering them to cancel any activity that was not strictly necessary to fulfill our
    ethical duties and giving them the rest of the guidelines necessary to comply with the order.
15. When I learned about the stop work order and termination of the contract, my office staff
    was in State Court attending to guardianship hearings for LTFC clients, and in the LTFC
    program we serve. As soon as I was able to speak with them, I informed my staff to cease
    all work under the contract. Our office is scheduled to appear in Court on Friday, March
    28, 2025, on two separate cases, and to prepare for asylum interviews with the Asylum
    Office and respond to USCIS notices before April 1, 2025. Until I am able to determine
    how to proceed on each one of the cases without being in violation of the rules of
    professional conduct, I plan to appear in Court for our scheduled cases, and to attend all
    legal and court mandated deadlines, so long as it is financially feasible.
16. Earlier today, the Lead Case Manager for one of the LTFCs my office serves, requested
    that I make arrangements to speak with our clients tomorrow, March 27, 2025, to inform
    them of the termination of the contract, per the request of their Regional Director. At this
    point, I continue to navigate the ethical implications of the termination of the contract and


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   the impact this will have on representation of my detained and non-detained clients. I
   respectfully declined the program’s request and informed them that termination of the
   contract does not automatically terminate legal representation, and that I will schedule to
   speak with the minors as soon as I am able to provide them with clear responses of the full
   extent of the implications of the termination of the contract.
17. Currently, the funds we receive for our unaccompanied children’s work accounts for 70-
    75% of our overall budget. Similarly, most of the work we perform on our daily operation
    relates to these contracts. As a small firm, our entire staff is affected by a loss of
    unaccompanied children’s funding. Before we entered into this contract with ORR, my
    Law Office was not dependent on this funding, but its demands have required me to
    restructure my Law Office’s clientele and expand my staff. From May 2023 to September
    2024, we managed to operate with two attorneys and one paralegal; we welcomed the
    fourth member of our team in October 2024. Because my office is a private practice, the
    partial termination of this program will have a severe financial impact on the operation of
    my Law Office. Within two months I will not be able to cover the financial obligations
    towards my staff or cover the cost of our daily operations. As a private practice, we are
    established as an “S” corporation, and do not have the tax structure or lobbying capacity
    necessary to secure the external funding required to solvently continue providing these
    types of legal services without the payment previously contracted.
18. For the duration of the original stop work order which occurred on February 18, 2025, we
    were fortunate enough to continue providing the strictly necessary legal services to our
    existing clients and fulfill our ethical duties with minimum repercussions. Still, we were
    forced to reschedule appointments with clients and provide services like attending court
    hearings without knowing if we were going to be compensated for the work done, while
    avoiding unnecessary stress or burden for our clients.
19. The effects of the current termination on our office are immediate. The impact on our
    morale is severe, as it forces us to restrict communications and services presented to our
    clients to the bare minimum, which is contrary to our client-centered approach. Moreover,
    it will not be possible to provide a living wage to my staff and quality legal services to my
    clients as a Law Office without unaccompanied children’s funds. A shutdown of the
    unaccompanied children’s program income leaves us in the precarious situation of having
    de facto 60 new unfunded clients, from our total of approximately 150 clients, to whom we
    have a duty to continue to provide service, at least for the foreseeable future. Under the
    California Rules of Professional Conduct, attorneys in general may withdraw from their
    representation if they are paid for services if the client breaches the agreement and the
    attorney gives them reasonable time to secure new representation, amongst other
    conditions. However, the representation contract we entered with the children from the
    unaccompanied children’s program is pro bono. That is, our attorneys cannot unilaterally
    terminate their client’s legal representation solely for lack of payment or professional

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   funding, particularly because it would be highly prejudicial for them as unaccompanied
   children while they are detained or underage. Under Rule 1.16(d), a lawyer shall not
   terminate representation until they have taken reasonable steps to avoid reasonably
   foreseeable prejudice to the rights of the client, such as giving the client sufficient notice
   to permit the client to retain other counsel or obtain a copy of their legal file. It is very
   difficult to see a scenario under which our young clients under long-term foster care, ages
   2-17, would be able to retain legal counsel on their own or to be able to present competent
   representation that would make our withdrawal permissive under California Rules.
20. Continuing to operate with at least 60 unfunded clients for the foreseeable future will likely
    bankrupt my small business. It will force me to incur significant debt to try to once again
    redistribute the ratio of my client portfolio to serve additional private clients. With my
    reduced staff, and considering that we already serve over 150 clients, it would be nearly
    impossible to manage a clientele restructuring while maintaining a full staff and sound
    finances.
21. In addition, on January 8, 2025, my house was completely destroyed in the Eaton fire, in
    Altadena, California. This forced my family of three, including my two-year old, to be
    displaced. It was not until March 1, 2025, that we were able to secure temporary housing.
    The disaster my family experienced disrupted my business operations. While my office
    continued working, and the rest of my staff was spared from the fire, I had to take
    extraordinary measures to be able to respond to the stop work order and the financial
    implications that followed.
22. When I started the Law Office of D. H. CH. C. in 2020, I wanted to create a private law
    practice that could provide both a balanced environment for my staff and provide services
    so that clients of all backgrounds and resources could find competent and caring legal
    services. To this day, we aim to provide zealous, competent and holistic representation to
    our clients in the immigration system, whether detained or non-detained, and at all stages
    of their immigration removal proceedings. Our mission is still to provide client-centered
    and trauma-informed legal representation. I hope that we can carry on with this vision
    without it leading to financial ruin.




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I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 26 of March 2025, in Pasadena, CA.



        ______________________________
Daniela Hernandez Chong Cuy
Directing Attorney/Owner
Law Office of Daniela Hernández Chong Cuy
UCP Legal Service Provider




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